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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                     PLAINTIFF

v.                              No. 4:09CR00285-02 JLH

DIANE SMITH                                                                DEFENDANT


                                        ORDER

       The government’s motion to dismiss the indictment against defendant Diane Smith is

GRANTED. Document #37. The indictment against defendant Diane Smith is hereby dismissed

without prejudice.

       IT IS SO ORDERED this 6th day of December, 2010.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
